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AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                 for the



                      United States of America
                                 V.                                 )
                                                                            ORIGINAL
                                                                    )      Case No. 3:23-mj-00006-2
                                                                    )
                                                                    )
        FERNANDO TAURINO BARRIGA-ANTONIO
                                                                    )
                                                                    )
                             Defendant


                                                     ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)        FERNANDO TAURINO BARRIGA-ANTONIO
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment               0 Superseding Indictment       0 Information      0 Superseding Information            ~ Complaint
0 Probation Violation Petition             0 Supervised Release Violation Petition    □ Violation    Notice       O Order of the Court

This offense is briefly described as follows:
  21 USC§ 841 (a)(1 ), (b)(1 )(A)(vi) and 846 - Possession with intent to distribute controlled substances and Conspiracy to
  Possess with Intent to Distribute controlled substances.


                                                                                                      .

Date:      January 11, 2023
                                                                                       Issuing officer's signature


City and state:          PORTLAND , Oregon
                                                                                         Printed name and title


                                                                Return

          This warrant was received on (date) _ _ _ _ _ _ _ , and the person was arrested on (date)
at (city and state)


Date: - - - - - - - -                                  DATE
                                                       ARRESTED ;
                                                                  ~!u~v_~
                                                                   7 L  ;
                                                                          ·               S(iµg qfflr,er 's signature



                                                                                         Printed name and title
